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                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS




                                   )
 UNITED STATES OF AMERICA,         )
                                   )            Criminal Action
            Plaintiff,             )            No. 17-10305-ADB
                                   )
 v.                                )
                                   )
 JOSEPH BAPTISTE and               )
 ROGER RICHARD BONCY,              )
                                   )
            Defendants.            )
                                   )



             BEFORE THE HONORABLE ALLISON D. BURROUGHS
                    UNITED STATES DISTRICT JUDGE


                            STATUS CONFERENCE

                              March 17, 2020



               John J. Moakley United States Courthouse
                           Courtroom No. 17
                          One Courthouse Way
                     Boston, Massachusetts 02210




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                                        Official Court Reporter
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         1                              P R O C E E D I N G S

         2                (The following proceedings were held in open court

         3    before the Honorable Allison D. Burroughs, United States

         4    District Judge, United States District Court, District of

         5    Massachusetts, at the John J. Moakley United States Courthouse,

         6    One Courthouse Way, Courtroom 17, Boston, Massachusetts, on

         7    March 17, 2020.)

         8                COURTROOM CLERK:    Can I have everybody identify

         9    themselves that's on the line.

10:46   10                MS. RUBIN SMITH:    Good morning.     This is Elina Rubin

        11    Smith on behalf of the United States.

        12                MR. FICK:    Bill Fick and Dan Marx on behalf of Dr.

        13    Baptiste.

        14                MR. DWYER:   Good morning.    Jed Dwyer on behalf of

        15    Richard Boncy.

        16                COURTROOM CLERK:    Okay.   Thanks.   We're going to get

        17    started shortly, okay?      And can I just remind everybody also to

        18    identify themselves before they speak, just so the court

        19    reporter can take it down accurately.

10:46   20                (Judge takes bench.)

        21                (Case called to order.)

        22                COURTROOM CLERK:    Will counsel identify themselves for

        23    the record.

        24                MR. BASIL:   Good morning, Your Honor.      Kriss Basil for

        25    the United States.
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         1               MS. RUBIN SMITH:     Elina Rubin Smith on behalf of the

         2    United States appearing telephonically.

         3               MR. FICK:    Good morning, Your Honor.      Bill Fick and

         4    Dan Marx appearing telephonically for Dr. Baptiste.

         5               MR. DWYER:    Good morning.    Jed Dwyer on behalf of

         6    Richard Boncy appearing telephonically.

         7               THE COURT:    I just want you to know that Mr. Basil is

         8    here in a suit and I am here in basically sweatpants.            He is

         9    the most professional-looking one in the building.

10:49   10               We need a new trial date.      I was hoping for something

        11    quick, but I think the current circumstances are pushing me

        12    off.   What do you guys think about June?

        13               MR. BASIL:    Your Honor, I have a conflict the week of

        14    June 29.

        15               THE COURT:    I was hoping to do it the first two or

        16    three weeks of June.

        17               MR. BASIL:    I can do that, Your Honor.      I don't know

        18    about the others.

        19               MS. RUBIN SMITH:     Your Honor, this is Elina Rubin

10:50   20    Smith.   I'm in the same situation.       I have a conflict the last

        21    week of June, but as long as we are done before that, the first

        22    two or three weeks, that should be fine.

        23               THE COURT:    I have a conflict the last week of June,

        24    too, so no worries about that.       Defense?

        25               MR. FICK:    So Your Honor, for Dr. Baptiste, William
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         1    Fick.   That's I think an ambitious schedule.         Sort of thinking

         2    out loud here, we will -- well, first of all, we don't even

         3    right now have a complete copy of the discovery because the

         4    material we got from Mr. LaRoche is -- well, it is what it is,

         5    but it's not a complete copy of discovery.

         6               You know, our understanding is this is voluminous,

         7    there's stuff in four languages.        We have a lot of work to do

         8    to get ready for a trial, number one.         Number two, our current,

         9    sort of the scope of my engagement with our client is to cover

10:51   10    post-trial matters and any appeal, so we have to have a

        11    discussion with him about that and sort of just the terms and

        12    resources for our engagement going forward.

        13               I think also we would need to know whether the

        14    government is going to appeal the court's decisions.             Because

        15    if that's going to happen, that's obviously going to change

        16    everything.    And then of course we're all sort of up in the air

        17    because of the current Covid 19 situation, which makes it

        18    difficult to do certain kinds of work more generally.

        19               So, you know, our sort of gut reaction is that a June

10:52   20    trial date is not entirely realistic.

        21               THE COURT:    Mr. Dwyer?

        22               MR. DWYER:    Your Honor, I am open not the first week

        23    of June but the weeks following.

        24               THE COURT:    Did this take us the full two weeks to try

        25    the first time?     Does anybody remember?
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         1                MR. BASIL:   It did, roughly, Your Honor.       It took I

         2    think nine full days.

         3                MR. FICK:    I know, just continuing to sort of think

         4    out loud here -- this is Bill Fick.        I mean, given the current

         5    sort of world lockdown situation, just even being able to

         6    contact witnesses, do investigation, the kinds of things that

         7    we pointed out Mr. LaRoche didn't do that we feel we need to

         8    do, it's hard to imagine how we could possibly do that in the

         9    state between now and June because the world is locked down.

10:53   10                THE COURT:   You shouldn't have trouble finding

        11    anybody.    They're all in their houses, except for me and Mr.

        12    Basil.

        13                MR. FICK:    You know, hiring an investigator who can

        14    actually go outdoors and talk to them is sort of a whole other

        15    question.

        16                THE COURT:   Well, if I don't try it in June and my

        17    schedule stays the way it is, I can't try it until September.

        18    And I am unwilling to let it go to September.          So I'll transfer

        19    it to another judge, and you'll take your chances.

10:53   20                MR. FICK:    Sorry.   You would transfer it -- rather

        21    than doing it yourself in September, you would transfer it to

        22    another judge?     I'm sorry.     This is Mr. Fick again.

        23                THE COURT:   I will.    I'm not going to sit on this

        24    until September.     I mean, I was planning on scheduling it for

        25    April.
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         1               MR. FICK:    Your Honor, this is Mr. Fick again.      There

         2    is no way we could do an effective representation at a trial in

         3    this case in April since we don't even have the discovery.         The

         4    Corona virus I suppose makes that moot.         May I inquire or ask

         5    the court to inquire of the government whether they've made a

         6    decision about an appeal.       Obviously that would have the effect

         7    of freezing everything in place.

         8               MR. BASIL:    No decision has been made.

         9               THE COURT:    What's the deadline?

10:54   10               MR. BASIL:    30 days from the court's decision.

        11               THE COURT:    Where are we now?

        12               MR. BASIL:    Could you please repeat, Your Honor.     I

        13    didn't hear.

        14               THE COURT:    Where are we now in the 30 days?

        15               MR. BASIL:    I believe Your Honor decided one week ago

        16    Wednesday.

        17               THE COURT:    All right.    Well, I am -- I'm just fully

        18    booked for July and August, so I'm going to schedule it for

        19    June, and I'm going to schedule another status when the 30 days

10:55   20    are up.    And if you can't be ready in June, Mr. Fick, I'll

        21    transfer it to another judge.

        22               MR. FICK:    Thank you, Your Honor.

        23               THE COURT:    All right.    Mr. Dwyer, you said you were

        24    busy the first week in June?

        25               MR. DWYER:    Yes, Your Honor.     Let me just look real
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         1    quickly.

         2               MR. BASIL:    Your Honor, mind if I --

         3               MR. DWYER:    I could be available starting the 4th.

         4               MR. FICK:    Your Honor, this is Mr. Fick again.      We

         5    have a trial in front of Judge Young that's scheduled to begin

         6    in late May continuing into early June.         We've asked to

         7    continue it jointly with the government.         There's no ruling on

         8    that yet, but currently it's on the schedule for us at that

         9    time.

10:56   10               THE COURT:    Well, I'm going to schedule this for June

        11    8.

        12               MR. DWYER:    Okay.

        13               THE COURT:    Then if the government decides to appeal

        14    it, obviously that will push it off.         And if, you know, I get

        15    anything else that shakes loose in July, I'm willing to do it

        16    then, but at the moment I don't.         I'm just not free again until

        17    September.    And of course I don't know how long the current

        18    situation is going to go, so we'll revisit it if the courthouse

        19    doesn't open up for jury trials in a reasonable timeframe.

10:57   20               All right?    So do you know the date we issued the

        21    opinion?

        22               COURTROOM CLERK:      11th.

        23               THE COURT:    Can you schedule something 30 or so days

        24    after that, Karen.

        25               COURTROOM CLERK:      Yes.    For a status?
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         1                THE COURT:   Yeah.

         2                COURTROOM CLERK:     How about Tuesday the 14th?

         3                THE COURT:   Tuesday the 14th.      Happy to do it by

         4    phone.   Tuesday the 14th at 10:00 a.m.        By then we'll know if

         5    the government is going to appeal or not, and we'll take it

         6    from there.

         7                MR. FICK:    14th of April?     This is Bill Fick.      I'm

         8    sorry.   Is that the 14th of April?

         9                COURTROOM CLERK:     Yes.

10:58   10                MR, FICK:    Okay.   And Your Honor, I trust the

        11    government will be accommodating here, but can there be some

        12    kind of a deadline for a reproduction of all the discovery to

        13    us just to make sure that doesn't provide reason to hold

        14    anything up.

        15                MR. BASIL:   Mr. Fick is welcome to give me a call.

        16    I'll do what I can personally.          As soon as I have a paralegal

        17    who can bring the disks, I will give them to him.           I'm unsure

        18    what he'd like me to do today.

        19                THE COURT:   We're on such diminished staff in this

10:58   20    building.    I don't know how quickly he can do that.            But in

        21    case you didn't hear him, he said you should give him a call

        22    and he is prepared to be accommodating, as accommodating as he

        23    can be in current circumstances.

        24                MR. FICK:    Okay.   Thank you.

        25                THE COURT:   Mr. Dwyer, maybe you could burn a copy of
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         1     the CD and give it to him.

         2               MR. BASIL:    Mr. Dwyer has a complete copy.

         3               MR. DWYER:    I'm sorry.    I missed that, Mr. Basil.

         4               THE COURT:    He says that you have a complete copy of

         5     the discovery, which I presume to be true, so maybe it would be

         6     more efficient for you to send Mr. Fick and Mr. Marx a copy of

         7     the discovery while the government is laboring under current

         8     circumstances in this building.

         9               MR. DWYER:    Yeah, I can provide what it is that I

10:59   10     have, Your Honor, give him a copy.

        11               THE COURT:    All right.    We'll see where we are in

        12     mid-April when we have the status.        But I just -- it's just not

        13     fair to the government to not have this trial until September.

        14               All right?    Anything else for today?

        15               MR. BASIL:    Not from the United States, Your Honor.

        16     Thank you.

        17               MR. FICK:    No, Your Honor.     Thank you.

        18               MR. DWYER:    Nothing for me.     Thank you.

        19               THE COURT:    All right, everyone.      Stay safe.     The case

11:00   20     is recessed.

        21               (Adjourned, 11:00 a.m.)

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 1                       CERTIFICATE OF OFFICIAL REPORTER

 2

 3                     I, Kelly Mortellite, Registered Merit Reporter

 4     and Certified Realtime Reporter, in and for the United States

 5     District Court for the District of Massachusetts, do hereby

 6     certify that the foregoing transcript is a true and correct

 7     transcript of the stenographically reported proceedings held in

 8     the above-entitled matter to the best of my skill and ability.

 9                           Dated this 19th day of March, 2020.

10

11                           /s/ Kelly Mortellite

12                           _______________________________

13                           Kelly Mortellite, RMR, CRR

14                           Official Court Reporter

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